Case 1:10-cv-01277-ESH Document 90 Filed 01/22/19 Page 1of3

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

SECURITIES AND EXCHANGE
COMMISSION,
100 F Street, N.E.
Washington, D.C. 20549,
Plaintiff,
Civil Action No.
Vv. 10-cv-1277-ESH
CITIGROUP INC.,
Defendant.

 

 

THE DISTRIBUTION AGENT’S FOURTH PROGRESS REPORT
Epiq Class Action and Claims Solutions, Inc.,! the Distribution Agent” in the above-
captioned matter, respectfully submits this Fourth Progress Report, pursuant to the Distribution Plan
For Citigroup Inc. Fair Fund (the “Plan”’) dated January 31, 2018, which was approved by this Court
on February 15, 2018. Pursuant to paragraph 88 of the Plan, Epiq shall provide to Commission staff
and file additional reports and quarterly account statements within 20 days after the end of every
calendar quarter. This report covers the period from October 1, 2018 through December 31, 2018.

Tasks Performed by the Distribution
Agent Since the Third Progress Report

Since the Third Progress Report, Epiq has performed the following tasks pursuant to the

Distribution Plan:

e To date, Epiq has received and is processing approximately 143,000 claims’ excluding
existing claims from Class Action Authorized Claimants and Class Action Deficient
Claimants;

 

' This Court appointed Garden City Group, LLC (“GCG”) as the Distribution Agent on October 6, 2016. On
June 15, 2018, GCG was acquired by Epiq and is now continuing operations as part of Epiq.

All capitalized terms not otherwise defined in this document shall have the meaning provided in the Plan.

> The claim submission deadline was extended from July 1, 2018 to August 31, 2018.

 
Case 1:10-cv-01277-ESH Document 90 Filed 01/22/19 Page 2 of 3

Epiq monitored the toll-free number and assisted Claimants with their inquiries. Through
December 31, 2018, Epiq has received 15,727 phone calls;

Epiq continually monitors the email inbox dedicated for this action and has promptly
responded to all potential claimant inquires that have been received via email;

Epiq continues to host and monitor the dedicated case website. The website is located at
www. CitigroupFairFund.com. As of December 31, 2018, there have been a total of 67,084
unique visitors to the website; and

Epiq will continue to perform the above-referenced tasks as well as others necessary to
administer the Citigroup Inc. Fair Fund.

Anticipated Next Steps
Following this Fourth Progress Report, Epiq will carry out the other terms of the Plan,

including:

Continue to review and process claims in accordance with the Plan;

Send a Claim Deficiency Notice to each Potentially Eligible Claimant who submits a Proof
of Claim Form that is deficient, in whole or in part;

Continue to monitor the intake of claims and will promptly return telephone calls and e-mail
inquiries from Claimants regarding the Plan or the claim filing process; and

File its next progress report within twenty (20) days after the end of the next quarter,
pursuant to Paragraph 88 of the Plan.

 
Case 1:10-cv-01277-ESH Document 90 Filed 01/22/19 Page 3 of 3

Location of the Fair Fund and Disbursements
From the Fair Fund during the Quarterly Period

The Fair Fund is a Qualified Settlement Fund within the meaning of Section 468B(g) of the
Internal Revenue Code of 1986, as amended, 26 U.S.C. § 468B(g), and related regulations, 26
C.F.R. §§ 1.468B-1 through 1.468B-5. In total, $75,000,001.00 was paid into the Fair Fund. The
SEC has jurisdiction of the Fair Fund and shall retain control of the assets of the Fair Fund. The Fair
Fund is currently deposited in a SEC-designated interest-bearing account at the United States
Department of the Treasury, where it will be held until a disbursement is ordered.

Dated: January 20, 2019

Respectfully submitted,

 
 
  
 

shannon Casey

Epiq

Distribution Agent

1985 Marcus Ave.

Lake Success, NY 11042

 

 
